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                      EXHIBIT 5
            FILED UNDER SEAL
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                                                                                                February 7, 2020

 Elizabeth Brown Fore
 Deputy Division Chief
 General Litigation Division
 Office of the Attorney General
 State of Texas
 P.O. Box 12548
 Austin, Texas 78711-2548

                       HIGHLY CONFIDENTIAL TREATMENT REQUESTED
                                     CID MATERIAL
 Dear Ms. Brown Fore:
          We write on behalf of Alphabet Inc. and Google LLC (“Google”) in response to several
 discovery topics discussed during the calls with your Office on January 29 and 31, 2020 and your
 letter of February 4, 2020.
      Google’s CID Response Efforts and Related Engagement with the TXOAG to Date
         Before addressing specific custodians, search terms, and other topics from our calls and in
 your letter, we summarize below the prior history and status of discovery negotiations with your
 other OAG colleagues and Google’s efforts to respond to OAG’s Civil Investigative Demand
 (CID) thus far. To date, Google has agreed to produce documents from a total of 38 custodians,
 has reviewed nearly 300,000 documents (amounting to nearly 7 million pages), and has produced
 17,608 documents (amounting to 154,163 pages) responsive to priority topics in the CID identified
 by the OAG. Google has also submitted responses to 57 interrogatories in the CID covering the
 priority topics (more than 70 if you count subparts).
         OAG issued Google a CID in September 2019. In October 2019, after the OAG identified
 priority topics in the CID that it wanted Google to focus on first,1 the OAG and Google came to
 an agreement on a tentative schedule for Google’s response to the CID. The understanding was
 that the final deadline for compliance with the CID would be discussed after Google’s priority
 productions. In particular, the parties proceeded as follows:

     ● The OAG proposed in an October 3, 2019 letter that Google finish responses to all priority
       requests by January 31 and all non-priority requests by March 31, 2020.



 1
  In October 2019, the OAG identified the following topics in the CID as its priority topics: Integrations, Google Ad
 Exchange, Dynamic Allocation, Enhanced Dynamic Allocation, Header Bidding, Exchange Bidding, Accelerated
 Mobile Pages, and Privacy Policy.
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     ● Google responded in an October 7, 2019 letter, agreeing to “substantial completion” of
       interrogatory responses and document productions for the priority topics identified by the
       OAG by January 31, 2020, subject to good faith discussions regarding the scope of
       documents sought. In that same letter, Google indicated it was “premature for us to agree
       to an end timeline for all topics in the CID at this stage, as Google is still identifying
       custodians and information in response to the 100+ remaining requests of the CID.” Google
       accordingly proposed to “discuss the schedule further in due course.” OAG responded the
       same day that the schedule Google described was “acceptable.” Google did not hear from
       the OAG again regarding the schedule for responding to the non-priority requests in the
       CID until you raised it during the January 31, 2020 call.

     ● In October and November 2019, Google actively engaged with your colleagues about
       specific proposed custodians, conducting diligence and answering numerous questions
       from the OAG about various Google employees. Over the course of those discussions,
       Google also considered OAG’s proposals and offered to add several individuals to the
       custodian list.

     ● By November 12, 2019, Google had offered 21 custodians, 11 of which were designated
       as priority custodians for production of priority materials by January 31. In addition to
       providing extensive custodial information during calls, on November 19, Google provided
       the OAG written information about potential custodians, their reporting lines and the
       organizational structure of the business units covered by the CID, to help it evaluate
       Google’s custodian proposals. The next day, Google offered to discuss those materials and
       answer any questions the OAG had.

        We did not receive any inquiries about custodians from the OAG for a month—from
 November 12 until December 17. During that time period, Google continued to make rolling
 productions of priority documents from the 11 priority custodians to meet the January 31 deadline,
 notwithstanding a pending motion for protective order over confidentiality protections.
         During a call on December 17, the OAG identified as potential custodians 50 additional
 current or former Google employees, officers and directors, largely based on public information
 (rather than the organization and custodial information Google had provided). The OAG also, for
 the first time, asked for production of priority documents from non-priority custodians, and
 production of non-priority documents from priority custodians.2 Google promptly responded,
 asking to confer on the newly requested priority productions and other matters raised by the OAG,



 2
   As noted in our December 26 and January 16 letters, Google did not create the priority/non-priority distinction
 among custodians; the OAG sought production of information about priority topics by January 31 and production of
 non-priority topics at a later date, which inevitably required identifying and producing from priority custodians first.
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 and offered to include nine more custodians, for a total of 30 custodians. Meanwhile, Google
 continued to review and produce priority documents from the originally-offered 11 priority
 custodians throughout December and January, in accordance with the schedule that the parties
 agreed to in October.
         One month later, on January 28, you reached out to us with a request to discuss custodians.
 In response, we promptly scheduled a call on January 29. During that call, you requested that
 Google add to the custodian list another 12 newly-identified current or former Google employees
 and revisited numerous other potential custodians we had previously discussed with your
 colleagues at the OAG. During the call, the OAG also indicated it was planning to serve Google
 with a notice for a deposition about custodians in mid-February.
         You requested on the January 29 call that Google provide answers to all of your questions
 by January 31. We did. During the January 31 call, we readdressed the reasons why we believe 28
 individuals the OAG has inquired about do not warrant inclusion as document custodians and
 communicated that Google was willing to add yet eight more custodians that the OAG had
 requested. We also indicated Google is conducting further diligence into the Alphabet and Google
 officers and directors you inquired about, as well as six other individuals. We furthermore
 answered questions you had posed on January 29 about Google’s search terms and which
 custodians were on hold.
         The same day, consistent with the October 7 agreement, Google also substantially
 completed its productions of some 17,608 priority documents (amounting to 154,163 pages) from
 the 11 priority custodians it offered as of November 19 and submitted its responses to all of the
 priority interrogatories. So far Google has collected approximately 33 million documents and, as
 noted above, reviewed nearly 300,000 documents (nearly 7 million pages) to respond to the CID.
 This has been a very substantial effort due to the highly technical and complex nature of the subject
 matter and related documents from the Google business covered by the CID.
                                    Google Custodians Offered
        Google has agreed to collect and produce responsive non-privileged documents from the
 38 custodians listed in Exhibit A hereto, which include six current and former Senior Vice
 Presidents responsible for Ads, Google’s Global Business & Operations (“GBO”) organization
 and YouTube; ten Vice Presidents responsible for Ads and the GBO organization; ten Directors
 responsible for Ads and the GBO organization; and twelve Product Managers and Engineers
 responsible for Ads, the GBO organization, AMP, and Chrome. We believe the 38 custodians
 offered by Google should be more than sufficient to cover all CID topics and time periods.
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                                               Search Terms

          As agreed, enclosed as Exhibit B, please find the search terms that Google has used to date
 for its priority productions (and intends to continue to use for any remaining priority productions),
 as well as the search terms that Google intends to use for its non-priority productions.

         As with the custodian and other information provided in and with this letter, we are sharing
 these search terms on the understanding based on our call with you today, February 7, that the
 OAG will treat them as confidential information. This disclosure of search terms does not
 constitute a waiver of attorney-client privilege, attorney work-product protection, or other
 applicable protections that we have claimed or may in the future claim with regard to our responses
 to your CID.

            OAG’s Questions about Hangout Chat Retention and Document Holds
        During the January 29 and 31 calls and in your February 4 letter, you asked a number of
 follow-up questions about Google’s document retention policies for Hangout chat messages. We
 provide additional information in response to your questions below.
        Google offers its employees a set of work productivity tools that includes an internal
 messaging tool called “Google Hangouts.” Google Hangout messages by default are set to be “off-
 the-record.” Off-the record messages are not retained by Google. “On the record” Hangout
 conversations are kept for 30 days. Once an employee is put on a legal hold, however, “on the
 record” Hangout conversations are preserved for the duration of the legal hold. Google instructs
 custodians on a legal hold to preserve relevant materials, including an instruction to preserve
 relevant Hangout conversations by putting those conversations “on-the-record” on a message-by-
 message basis.

          Regarding your questions about Google’s “audits” of custodians on legal hold: Google
 sends custodians on legal hold regular electronic and oral reminders to make sure they preserve
 their relevant materials, including by putting any Hangout conversations “on-the-record.” Google
 is conscious of its responsibilities to preserve documents under the CID, and Google is taking
 reasonable and appropriate steps to ensure its custodians’ compliance.

 You had also asked whether Google has put on legal hold the 95 potential custodians the OAG has
 inquired about. We can confirm that your understanding stated in your February 4 letter on that
 topic is correct; Google has on a legal hold all of the individuals you have identified as potential
 custodians to the extent that there is existing data for them.
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                                Schedule for Non-Priority Interrogatories

         At the time of our January 31 call, there was no agreed-upon final CID compliance date,
 and Google’s last letter response, on October 7, 2019, proposed that the parties discuss this in due
 course in light of ongoing identification of custodians. On our recent call, you asked Google to
 produce responses to the non-priority interrogatories in the CID by February 28, a month earlier
 than the date your colleagues had initially proposed in October 2019. From your February 4 letter,
 we understand that the OAG now is re-proposing the March 31 date it suggested in October.
         Parsing and answering the more than 70 non-priority interrogatories requires significant
 time and effort because the interrogatories cover highly technical and complex subject matter, cut
 across several different product areas. Google believes it will be able to respond to the non-priority
 interrogatories by April 30, 2020 and, therefore, is willing to commit to that date.
        You had also requested that Google provide on or before February 17 its final proposed
 custodian list in the form of a response to Interrogatory 127.3 Google agrees to provide such a
 response to Interrogatory 127 on or before February 17.

                    Schedule for Remaining Document Review and Productions
        On the January 31 call and in your February 4 letter, the OAG also has requested that
 Google commit to produce all responsive (priority and non-priority) documents from the
 remaining custodians by March 31.
        Given the expansion of the custodian list, Google will not be able to produce all remaining
 responsive documents from the 38 custodians on the list by March 31. Based on the search terms
 enclosed herewith, there would remain after deduplication an estimated 2 million documents
 (estimated 60 million pages) to review for responsiveness. Google estimates that it will take about
 5 months to complete the production of responsive documents from that universe if it uses about
 100 reviewers full time. Google therefore expects that it will be able to substantially complete all
 remaining productions of documents by no earlier than June 30, 2020.
        Of course, if Google is required to add or otherwise adds yet more custodians beyond the
 38 currently offered, or if it has to broaden the search term list beyond what it has used, substantial
 completion of the remaining productions could take longer.




 3
   While you refer to Interrogatory 128 in your February 4 letter, we confirmed with you on our call today, February
 7, that you intended to request a response to Interrogatory 127.
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          For these reasons, we believe that collecting and reviewing documents from the 19 current
 and former top executives and from the Directors of Google and Alphabet identified by the OAG
 is not likely to lead to production of responsive documents not already captured in the files of the
 custodians we have offered.
         Nevertheless, as discussed, we are undertaking further diligence to confirm that and will
 revert on this issue following confirmation. We anticipate that we will be in a position to provide
 a final position by February 17.
                                Request for a Custodian Interview
        On our January 29 call, you indicated that you would seek a custodian interview. We
 understand from further discussion on that call that you were referring to a sworn deposition to
 take place in Texas at some point in February. You advised that you would provide further
 information about this request and that you anticipated serving notices to Google. We do not
 believe that a deposition is the appropriate vehicle for efficiently obtaining job description
 information about potential custodians, particularly in light of Google’s ongoing willingness to
 provide information about specific custodians and organizational structure.
        Please let us know if you have any questions or concerns.

                                                              Cordially yours,



                                                                R. Paul Yetter
 RPY:clg
 Enclosure

 cc:    Darren McCarty, Deputy Attorney General for Civil Litigation
        Kim Van Winkle, Chief, Antitrust Division
        David Ashton, Assistant Attorney General
        John Harkrider, Axinn
        Wendy Huang Waszmer, Wilson Sonsini Goodrich & Rosati
